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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                )
                                                         )               8:15CR225
                        Plaintiff,                       )
                                                         )
        vs.                                              )                ORDER
                                                         )
BRIAN CORDONA,                                           )
                                                         )
                        Defendant.                       )



        This matter is before the court on the joint motion to continue trial by defendant Brian Cordona

(Cordona) (Filing No. 18). Cordona seeks a continuance of the trial scheduled for September 21, 2015.

Cordona's counsel represents that government's counsel has no objection to the motion.               Upon

consideration, the motion will be granted.



        IT IS ORDERED:

        1.      Cordona's motion to continue trial (Filing No. 18) is granted.

        2.      Trial of this matter is re-scheduled for October 26, 2015, before Senior Judge Joseph F.

Bataillon and a jury. The ends of justice have been served by granting such motion and outweigh the

interests of the public and the defendant in a speedy trial. The additional time arising as a result of the

granting of the motion, i.e., the time between September 15, 2015, and October 26, 2015, shall be

deemed excludable time in any computation of time under the requirement of the Speedy Trial Act for the

reason that counsel require additional time to adequately prepare the case. The failure to grant additional

time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        DATED this 15th day of September, 2015.

                                                         BY THE COURT:

                                                         s/ Thomas D. Thalken

                                                         United States Magistrate Judge
